



















NO. 07-09-00206-CR

&nbsp;

IN THE COURT OF APPEALS

&nbsp;

FOR THE
SEVENTH DISTRICT OF TEXAS

&nbsp;

AT
AMARILLO

&nbsp;

PANEL B

&nbsp;



OCTOBER
26, 2010

&nbsp;



&nbsp;

NICK LEE GRIEGO, APPELLANT

&nbsp;

v.

&nbsp;

THE STATE OF TEXAS, APPELLEE 



&nbsp;



&nbsp;

&nbsp;FROM THE 242ND DISTRICT COURT OF HALE
COUNTY;

&nbsp;

NO. B17934-0902; HONORABLE EDWARD LEE SELF, JUDGE



&nbsp;



&nbsp;

Before QUINN,
C.J., and CAMPBELL and HANCOCK, JJ.

&nbsp;

&nbsp;

ORDER

&nbsp;

In light of the Texas Court of
Criminal Appeals’s recent decision in Brooks v.
State, No. PD-0210-09, 2010 Tex.Crim.App.
LEXIS 1240 (Tex.Crim.App.
Oct. 6, 2010) (plurality opinion) and pursuant to Rule 50 of the Texas Rules of
Appellate Procedure, we withdraw our opinion issued in the instant cause on
June 6, 2010, in which this Court found the evidence to be factually
insufficient to support a state-jail felony conviction of evading arrest or
detention using a vehicle and reversed and remanded the cause
for a new trial.&nbsp; See Tex. R. App. P. 50.&nbsp; The State has filed a motion for
reconsideration and an amended petition for discretionary review.&nbsp; In its motion for reconsideration, the State
asks that this Court reconsider its opinion in the instant cause and affirm the
trial court’s judgment of conviction based on the State’s proposed application
of Brooks.

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Though
we reserve our opinion as to the precise import of Brooks and express no
opinion about such at this time, we note that the plurality opinion in Brooks
has called into question the viability of factual sufficiency as a distinct
point on which disposition of an appeal may rest.&nbsp; In light of this potentially notable
development and its potential application to the instant cause, we exercise our
authority under Rule 38.9 of the Texas Rules of Appellate Procedure to order
the parties to brief the issues of evidentiary sufficiency presented by this case
in light of Brooks.&nbsp; See Tex. R. App. P. 38.9(b).

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; The
parties will please note that we have abridged the timetable for filing these
supplemental briefs.&nbsp; See Tex. R. App. P. 38.7.&nbsp; Appellant’s brief will be due no later than
twenty days from the date of this order.&nbsp;
The State’s brief is due twenty days from the date appellant’s brief is
filed.&nbsp; No motions for extension of time
will be entertained by the Court.&nbsp; After
the parties have filed their briefs, we will consider the application of Brooks
and promptly issue another opinion in the instant cause pursuant to Rule 50.

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; We,
therefore, grant that portion of the State’s motion asking this Court to
reconsider its opinion in the instant cause in light of Brooks.&nbsp; Because the merits of the State’s proposed
application of Brooks to the instant cause will be further developed by
briefing and addressed in the Court’s forthcoming opinion, we will carry that
portion of the State’s motion asking this Court to affirm the trial court’s
judgment until such time that the Court has the benefit of the parties’
briefing on this issue.

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; It
is so ordered.








&nbsp;

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Per
Curiam

&nbsp;

Do
not publish.&nbsp; 

&nbsp;





